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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   Case No.: 0:16-cv-61732-WPD

  SYMBOLOGY INNOVATIONS, LLC,

          Plaintiff

  v.

  FRESHPOINT, INC.

          Defendant.

                                  NOTICE OF SETTLEMENT

          Plaintiff SYMBOLOGY INNOVATIONS, LLC, by and through its undersigned

  counsel, hereby gives notice of the parties’ settlement of all aspects of this matter. The parties

  anticipate submitting to the Court, within the next thirty (30) days, the papers necessary to

  finalize this matter.

  Dated: September 6, 2016                      Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

          The undersigned does hereby certify that on September 6, 2016, a true and correct copy
  of the foregoing document was sent via electronic mail by the Court’s CM/ECF System to all
  parties listed below on the Service List

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